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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                     )
PRISON LEGAL NEWS                                    )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )       Civil Action No. 05-1812 (RBW)
                                                     )
HARLEY G. LAPPIN, DIRECTOR, FEDERAL                   )
BUREAU OF PRISONS                                    )
                                                     )
                              Defendant.             )
                                                     )

 DEFENDANT'S UNOPPOSED MOTION FOR FURTHER ENLARGEMENT OF TIME

       Defendant, pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, respectfully

moves this Court for a further Enlargement of Time until June 8, 2007 to complete the

processing of its response to plaintiff’s FOIA request. Plaintiff does not oppose this motion.

       The parties will file a briefing schedule for the filing of dispositive Motions with the

Court by May 8, 2007.

       On May 4, 2007, defendant emailed 594 pages of documents to plaintiff. See attached

May 4, 2007 letter. The additional time is requested to complete the review and redaction of the

approximate 1200 remaining pages of information responsive to plaintiff’s request.7.

       This request for enlargement is made in good faith and is in no way designed to delay the

proceedings.

                                      Respectfully submitted,


                                      JEFFREY A. TAYLOR, D.C. BAR # 498610
                                      United States Attorney
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